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   1   Sean A. O’Keefe – SBN 122417
   2   OKEEFE & ASSOCIATES
       LAW CORPORATION, P.C.
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   6   Special Litigation Counsel to the Debtors

   7
                                UNITED STATES BANKRUPTCY COURT
   8
                                    CENTRAL DISTRICT OF CALIFORNIA
   9
                                         LOS ANGELES DIVISION
  10

  11    In re
                                                    Adversary No.
  12    SCOOBEEZ, INC., et al.
                                                    Lead Case No. 2:19-bk-14989-WB
  13                  Debtors and Debtors in
                      Possession.                   Chapter 11
  14
        Affects:                                    (Jointly Administered with
  15                                                Case Nos. 2:19-bk-14991; 2:19-bk-14997)
  16       All Debtors
         X SCOOBEEZ, INC., only
  17     X SCOOBEEZ GLOBAL, INC. only
           SCOOBUR, LLC only                        COMPLAINT FOR DECLARATORY
                                                    RELIEF; BREACH OF CONTRACT;
  18                                                INJUNCTIVE RELIEF
  19
        SCOOBEEZ, INC., a California corporation,
  20    and SCOOBEEZ GLOBAL, INC., an Idaho
        corporation,
  21
                      Plaintiffs,
  22
        v.
  23
  24    SHAHAN OHANESSIAN, SHOUSHANA
        OHANESSIAN AND GREGORI
  25    SEDRAKYAN

  26                  Defendants

  27
  28

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   1          Scoobeez, Inc., a California corporation (“Scoobeez”), and Scoobeez Global, Inc., an Idaho
   2   corporation (“Global”) (together the “Plaintiffs” or the “Debtors”), hereby respectfully allege and
   3   state as follows:
   4                                    JURISDICTION AND VENUE
   5          1.      On April 30, 2019 (the “Petition Date”), Global and Scoobeez filed petitions under
   6   Chapter 11 of Title 11 of the United States Bankruptcy Code (the “Bankruptcy Code”) in the
   7   United States Bankruptcy Court for the Central District of California ( the “Bankruptcy Court”).
   8          2.      Global’s Chapter was 11 case was assigned case number 2:19-bk-14991 (the
   9   “Global Case”) and Scoobeez Chapter 11 case was assigned case number 2:19-bk-14989-WB (the
  10   “Scoobeez Case”) (together the “Bankruptcy Cases”).
  11          3.      The claims in this adversary proceeding arise in and relate to the Bankruptcy Cases.
  12          4.      The Bankruptcy Court has jurisdiction over this adversary proceeding pursuant to
  13   28 U.S.C. §§ 157 and 1334.
  14          5.      This adversary proceeding is a core proceeding under, inter alia, 28 U.S.C.
  15   §§ 157(b)(2)(A) and (O).
  16          6.      If this adversary proceeding is determined to be a non-core proceeding, the
  17   Plaintiffs consent to the entry of final orders and judgments by the bankruptcy judge. The
  18   defendants are hereby notified that Fed. R. Bankr. P. 7012(b) requires the defendants to admit or
  19   deny whether this adversary proceeding is a core or non-core proceeding and, if non-core, to state
  20   whether the defendants’ consent, or do not consent, to the entry of final orders or judgment by the
  21   bankruptcy judge.
  22          7.      This adversary proceeding is a civil proceeding arising in and related to the
  23   Bankruptcy Cases, and such case is pending before this Court. Accordingly, venue in this Court is
  24   proper under 28 U.S.C. § 1409(a).
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   1                                              THE PARTIES
   2          8.      The Plaintiffs are the debtors and debtors-in-possession in their respective
   3   Bankruptcy Cases.
   4          9.      Shahan Ohanessian (“Ohanessian”) is an individual who is a shareholder of Global.
   5   Ohanessian purports to be a member of the board of directors of Global (the “Board”).
   6          10.     The Plaintiffs allege, on information and belief, that Ohanessian resides in Los
   7   Angeles County, California.
   8          11.     Shoushana Ohanessian is the spouse of Ohanessian and she purports to be a
   9   member of the Board.
  10          12.     The Plaintiffs allege, on information and belief, that Shoushana Ohanessian resides
  11   in Los Angeles County, California.
  12          13.     Gregori Sedrakyan (“Sedrakyan”) is an individual who purports to be a member of
  13   the Board.
  14          14.     The Plaintiffs allege, on information and belief, that Sedrakyan resides in Los
  15   Angeles County, California.
  16                                       GENERAL ALLEGATIONS
  17                                                 The Debtor
  18          15.     Ohanessian owns over ninety percent of the common stock of Scoobeez Global.
  19          16.     Global owns approximately ninety-six percent of the common stock of Scoobeez,
  20   Inc.
  21          17.     As of the Petition Date, Ohanessian was the chairman of the Board and the chief
  22   executive officer of Global.
  23          18.     Hillair Capital Management LLC and its affiliates (collectively, “Hillair”) hold a
  24   lien against substantially all of the Plaintiffs’ assets as security for an allowed claim in the
  25   approximate amount of $11.0 million (the “Hillair Claim”).
  26          19.     Hillair has authorized the Plaintiffs to continue using cash collateral on certain
  27   terms and conditions. These terms and conditions include the exclusion of Ohanessian from
  28   management of the Plaintiffs.
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   1          20.     On June 5, 2020, Ohanessian executed that certain Written Consent of The Majority
   2   Shareholder of Scoobeez Global, Inc. (the “Consent”). A true and correct copy of the Consent is
   3   attached hereto as Exhibit “A”.
   4          21.     The following directors were removed from the Board pursuant to the Consent:
   5   Shahan Ohanessian, Shoushana Ohanessian, Jowita Chomentowska, Lance Brinker and Richard
   6   Dolan (the “Ohanessian Board Members”)
   7          22.     Brian Weiss and Daniel W. Harrow were elected to serve on the Board in the place and

   8   stead of the Ohanessian Board Members effective as of June 5, 2019. Howard Grobstein was also

   9   elected to the Board in June of 2019.

  10          23.     Concurrently with the execution of the Consent, Ohanessian executed that certain

  11   Letter Agreement re: Resignation from Board of Directors and Limitation on Shareholder
  12   Authority During the Pendency of Chapter 11 Bankruptcy (the “Letter Agreement”). A true and
  13   correct copy of the Letter Agreement is attached hereto as Exhibit “B”.
  14          24.     In the Letter Agreement, Ohanessian contractually agreed he would not engage in
  15   any of the following actions during the pendency of the Bankruptcy Cases:
  16
              • Vote his shares in Scoobeez Global to remove or otherwise alter the composition
  17          of the Board of Directors of Scoobeez Global or Scoobeez except in the event that
              another shareholder attempts to remove or otherwise alter the composition of the
  18          Board of directors of Scoobeez Global or Scoobeez;
  19
              • Be involved with the management or financial affairs of Scoobeez Global or
  20          Scoobeez; and

  21          • Affect the business or operations of Scoobeez Global or Scoobeez except as
              requested and necessary to preserve the relationship with Amazon.com and its
  22
              affiliated companies
  23
       (See exhibit “B”).
  24
              25.     Pursuant to the Third Stipulation Regarding Continued Cash Collateral entered
  25
       into by and among Hillair and the Debtors (the “Stipulation”), if any of the Board’s existing
  26
       members, Brian Weiss, Howard Grobstein and Daniel Harrow, are removed from the Board
  27
       without Hillair’s consent, the Debtors will be in default under the terms of the Stipulation. True
  28
       and correct copies of the Stipulation and the order of this Court approving the same are attached
  29
                                                         3
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   1   hereto as Exhibits “C” and “D” respectively.
   2          26.      On May 16, 2019, the Debtors filed that certain Application for an Order
   3   Authorizing and Approving (I) Appointing Brian Weiss as Chief Restructuring Officer of the
   4   Debtors Nunc Pro Tunc to May 16, 2019 [Docket No. 63] (the “CRO Application”). On June 6,
   5   2019, the Court entered an order granting the CRO Application (the “CRO Order”). A true and
   6   correct copy of CRO Order is attached hereto as Exhibit “E”.
   7          27.      On October 18, 2019, Ohanessian purported to send then co-Chief Executive
   8   Officers of Scoobeez Global, George Voskanian and Scott A. Sheikh (“Sheikh”), a written notice
   9   demanding that Global call and notice a special meeting of Global’s shareholders within fifteen
  10   days of said notice.
  11          28.      On October 29, 2019, Ohanessian sent an email to Messrs. Voskanian, Shiekh, and
  12   the Board advising the Board he was calling a Special Meeting of the Shareholders and that such
  13   meeting would be held at 1:00 p.m. PST on November 1, 2019, at Global's principal offices.
  14          29.      On October 31, 2019, Co-CEO Sheikh sent an email to Ohanessian advising him
  15   access to Global's principal offices would not be granted for the purpose of holding a
  16   shareholders’ meeting on November 1, 2019 due to, inter alia, the lack proper notice of this
  17   meeting.
  18          30.      Ohanessian, Richard Dolan and Peter Rosenthal contend they held a special
  19   meeting of Global’s shareholders on November 1, 2019 and took the following actions at this
  20   meeting:
  21                A) removed Daniel W. Harrow from the Board; and
  22                B) elected the following individuals to the Board: Ohanessian, Shoushana
  23                   Ohanessian and Sedrakyan.
  24   (the “Special Meeting”)
  25          31.      On November 22, 2019, Ohanessian, using Peter Rosenthal and the Rosenthal
  26   Family Trust UTD 3/25/1988 (together “Rosenthal”) as proxies, filed a motion for relief from the
  27   automatic stay in the Bankruptcy Cases (the “RFS Motion”).
  28          32.      In the RFS Motion, Ohanessian and Rosenthal prayed for an order confirming the
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   1   automatic stay did not bar the calling, noticing and holding of the Special Meeting, or the actions
   2   purportedly taken at the Special Meeting.
   3          33.     The purpose of the RFS Motion was to persuade the Bankruptcy Court to approve
   4   the actions taken at the Special Meeting after the fact.
   5          34.     The RFS Motion was denied on January 7, 2019 pursuant to an oral ruling of the
   6   Bankruptcy Court.
   7          35.     Ohanessian breached the terms of the Letter Agreement by calling, noticing and
   8   attending the Special Meeting, purporting to remove Daniel W. Harrow from the Board at the
   9   Special Meeting, purporting to appoint himself, Shoushana Ohanessian and Gregori Sedrakyan to
  10   the Board at the Special Meeting, and by filing the RFS.
  11          36.     The need for injunctive relief barring Ohanessian from interfering in the Debtors’
  12   corporate affairs was explicitly provided for in the Letter Agreement and this relief is justified for
  13   the following reasons:
  14          A.      The PLainiffs are suffering irreparable harm. Ohanessian’s breach of the
  15          terms of the Letter Agreement has caused, and is continuing to cause the Plaintiffs
  16          irreparable harm by 1) placing at risk the Plaintiffs’ ability to continue to use
  17          Hillair’s cash collateral; 2) undermining the authority of the CRO and the authority
  18          of the validly elected members of the Board, Weiss, Harrow and Grobstein, to
  19          manage the business affairs of the Plaintiffs during the Bankruptcy Cases, and 3)
  20          engendering fear and confusion in the minds of the Plaintiffs’ customers, creditors
  21          and other parties-in-interest regarding the Debtors viability;
  22          B)      The equities justify the issuance of an injunction in favor of the Plaintiffs.
  23          The Plaintiffs, in their capacity as the debtors-in-possession, are fiduciaries. Their
  24          legal task is to maximize the recovery to creditors. Ohanessian’s objective, in
  25          contrast, is to seize control over the Plaintiffs to enrich himself and his family
  26          members; and
  27          C)      Injunctive relief is in the public interest. Granting junctive relief in this case
  28          in the public interest for the following reasons: Ohanessian’s attempt to regain
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   1           control of the Plaintiffs in breach of the Letter Agreement places the Bankruptcy
   2           Cases at the rights of all creditors.
   3                                          FIRST CLAIM FOR RELIEF
   4           37.     The Plaintiffs hereby restate and reallege the allegations in paragraph 1 through 36
   5   in support of this claim for relief.
   6           38.     The Letter Agreement is a binding contract between the Plaintiffs and Ohanessian.
   7           39.     The Plaintiffs fully performed their obligations under the terms of the Letter
   8   Agreement.
   9           40.     Ohanessian breached the terms of the Letter Agreement by calling, noticing and
  10   attending the Special Meeting, purporting to remove Daniel W. Harrow from the Board at the
  11   Special Meeting, purporting to appoint himself, Shoushana Ohanessian and Gregori Sedrakyan to
  12   the Board at the Special Meeting, and by filing the RFS.
  13           41.     The Plaintiffs have suffered damages on account of Ohanessian’s breach of the
  14   terms of the Letter Agreement. These damages include A) the attorneys fees and costs the
  15   Plaintiffs were required to expend opposing Ohanessian’s effort to regain control of the Plaintiffs;
  16   B) Ohanessian’s interference with the Plaintiffs’ management has raised doubts in the minds of
  17   creditors regarding the Plaintiffs’ ability to proceed with a plan of reorganization in this case; and
  18   C) Ohanessian’s action have imperiled the Plaintiffs’ ability to continue to use the Hillair’s cash
  19   collateral.
  20                                     SECOND CLAIM FOR RELIEF
  21           42.     The Plaintiffs hereby restate and reallege the allegations in paragraph 1 through 36
  22   in support of this claim for relief.
  23           43.     A dispute exists between the Plaintiffs and the Defendants over A) whether the
  24   Special Meeting was validly called, noticed and held, B) whether any of the actions taken at the
  25   Special Meeting are valid and enforceable, C) whether Daniel W. Harrow was removed from the
  26   Board; and D) whether Ohanessian, Shoushana Ohanessian and Sedrakyan were validly appointed
  27   to the Board.
  28           44.     To resolve the foregoing disputes, the Plaintiffs seek a judgment declaring and
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   1   stating that:
   2                      A) The Special Meeting was not properly called;
   3                      B) The Special Meeting was not properly noticed;
   4                      C) All actions taken at the Special Meeting are void;
   5                      D) Daniel W. Harrow was not validly removed from the Board by the
   6                      vote taken at the Special Meeting;
   7                      E) Ohanesian, Shoushana Ohanessian and Sedrakyan are not members
   8                      of the Board; and
   9                      F) The Board is limited to Daniel W. Harrow, Brian Weiss and Howard
  10                      Grobstein.
  11                                          PRAYERS FOR RELIEF
  12            WHEREFORE, the Plaintiffs pray for judgment as follows:
  13                                          First Claim For Relief
  14            A judgment against Ohanessian for breach of the terms of the Letter Agreement in the
  15   amount of all damages caused by this breach, and for the issuance of a preliminary injunction
  16   barring Ohanessian, and anyone acting under his control or in concert with him, from interfering
  17   with, or having any further involvement in the management of the Plaintiffs during the Bankruptcy
  18   Cases.
  19                                          Second Claim For Relief
  20                      A) A judgment declaring and stating The Special Meeting was not
  21                          properly called;
  22                      B) The Special Meeting was not properly noticed;
  23                      C) All actions taken at the Special Meeting are void;
  24                      D) Daniel W. Harrow was not validly removed from the Board by the
  25                      vote taken at the Special Meeting;
  26                      E) Ohanesian, Shoushana Ohanessian and Sedrakyan are not members
  27                      of the Board; and
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   1                      F) The Board is limited to Daniel W. Harrow, Brian Weiss and Howard
   2                      Grobstein.
   3                                           All Claims for Relief
   4          For an award of all fees and costs incurred by the Plaintiffs in the pursuit of the claims in this
   5   adversary proceeding and for such further relief as the Court deems just and proper.
   6
       DATED: January 28, 2020                                OKEEFE & ASSOCIATES
   7                                                          LAW CORPORATION, PC

   8                                                                    /s/ Sean A. O’Keefe
                                                             By: _________________________
   9                                                                  Sean A. O’Keefe
                                                             Special Litigation Counsel to Scoobeez
  10                                                  Global, Inc., and Scoobeez, Inc., the plaintiffs
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                                 EXHIBIT A




                                   000009
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            WRITTEN CONSENT OF THE MAJORITY SHAREHOLDER OF
                         SCOOBEEZ GLOBAL, INC.

       The undersigned, as the record owner of 150,000,000 shares of common stock and
18,400,000 shares of Series A preferred stock, representing approximately 92% of the
outstanding shares entitled to vote of SCOOBEEZ GLOBAL, INC., an Idaho corporation, does
hereby consent by this writing to the adoption of the following resolutions:

AMENDMENT OF THE BY-LAWS

       ​RESOLVED, that Article III, Section 2 of the By-Laws of Scoobeez Global, Inc. is
deleted in its entirety and replaced with the following:

       ​       ​SECTION 2 NUMBER, TENURE, AND QUALIFICATIONS
                The number of Directors of the corporation must be at least one but not more than
                five. Each director will hold office until the next annual meeting of shareholders
                and until the Director’s successor has been elected and qualified.

REMOVAL OF DIRECTORS

       RESOLVED, that the following named persons are hereby removed from the Board of
Directors:

               Shahan Ohanessian
               Shoushana Ohanessian
               Jowita Chomentowska
               Lance Brinker
               Richard Dolan

       ​RESOLVED FURTHER, that concurrently with the resignation of Shahan Ohanessian
from the Board of Directors, he executed a Letter Agreement re: Limitation on Shareholder
Authority During the Pendency of Chapter 11 Bankruptcy, which is adopted by the Board of
Directors and may be executed on behalf of the company by any of its officers; the officers of the
company may take any other action necessary to effectuate the foregoing.

ELECTION OF DIRECTORS

        RESOLVED, that the following named persons are hereby elected to serve as the
directors of the corporation to hold office until the next annual meeting of shareholders or until
their successors are duly elected:

               Brian Weiss
               Daniel W. Harrow

        The undersigned hereby consents to the foregoing resolutions and direct that this Written
Consent be filed with the minutes of the proceedings of the shareholders of this corporation and
that pursuant the relevant Idaho statutes and the Bylaws of this corporation, said resolutions shall
have the same force and effect as if they were adopted at a meeting at which the undersigned
were personally present.

       IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of this
___ day of June 2019.                000010
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       ​      ​      ​      ​        ​     ​      ​     ​       ​     ​     ​   ​   ​
       ​      ​      ​      ​        ​     ​      ​     ​ Shahan Ohanessian

SHARES HELD:
Common: 150,000,000
Series A Preferred: 18,400,000
2




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                                 EXHIBIT “B”




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                                 EXHIBIT “C”




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        John A. Simon (admitted Pro Hac Vice)
    2   Shane J. Moses (250533)
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    4   Telephone: 213.972.4500
        Email: amcdow@foley.com
    5          jsimon@foley.com
               smoses@foley.com
    6

    7   Attorneys for Debtors and Debtors in
        Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
    8   INC., and SCOOBUR, LLC
    9                               UNITED STATES BANKRUPTCY COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
  10
                                          LOS ANGELES DIVISION
  11

  12
            In re:                                            Case No. 2:19-bk-14989-WB
  13        SCOOBEEZ, et al. 1                                Jointly Administered:
                                                              2:19-bk-14991-WB; 2:19-bk-14997-WB
  14                Debtors and Debtors in Possession.
                                                              Chapter 11
  15

  16        Affects:
            ■ All Debtors                                     THIRD STIPULATION REGARDING
  17        □ Scoobeez, ONLY                                  CONTINUED USE OF CASH
                                                              COLLATERAL
            □ Scoobeez Global, Inc., ONLY
  18        □ Scoobur LLC, ONLY
  19

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  28      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
        follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
        address is 3463 Foothill Boulevard, Glendale, California 91214.

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    1 TO THE HONORABLE JULIA W. BRAND, UNITED STATES BANKRUPTCY JUDGE; THE
      OFFICE OF THE UNITED STATES TRUSTEE; HILLAIR CAPITAL MANAGEMENT, LLC;
    2 THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS; AND ALL INTERESTED
      PARTIES AND/OR THEIR COUNSEL OF RECORD:
    3

    4              Scoobeez, Scoobeez Global, Inc., and Scoobur, LLC, the debtors and debtors in possession

    5   (collectively the “Debtors”) in the above-captioned jointly administered chapter 11 bankruptcy cases

    6   (the “Chapter 11 Cases”), the Official Committee of Unsecured Creditors (the “Committee”) and Hillair

    7   Capital Management LLC and Hillair Capital Advisors LLC, the general partner of Hillair Capital

    8   Investments LP (collectively, “Hillair”), enter into this stipulation (the “Third Stipulation”) regarding

    9   continued use of cash collateral as follows:
                                                         RECITALS
  10
                   A.     On May 1, 2019, the Debtors filed the Debtors’ Emergency Motion for Entry of Interim
  11
        Order Authorizing Use of Cash Collateral on an Interim Basis [Docket No. 13] (the “Cash Collateral
  12
        Motion”).
  13
                   B.     The Debtors are currently using cash collateral with the consent of Hillair, and pursuant
  14
        to this Court’s prior orders approving use of cash collateral.
  15
                   C.     On June 6, 2019, the Debtors and Hillair entered into the Second Stipulation for (1)
  16
        Authorization to Use Cash Collateral; and (2) Appointment of Chief Restructuring Officer [Docket No.
  17
        132] (the “Second Stipulation”) [Docket. No. 132], which was approved by the Court’s order entered on
  18
        June 7, 2019 [Docket No. 135]. The Second Stipulation provided for continued use of cash collateral
  19
        through June 28, 2019, subject to the terms and conditions provided therein.
  20
                   D.     On July 3, 2019, the Court entered the agreed Order Granting Continued Use of Cash
  21
        Collateral Pursuant to That Certain Second Stipulation for (1) Authorization to Use Cash Collateral; and
  22
        (2) Appointment of Chief Restructuring Officer [Docket No. 172], extending the Debtors’ use of cash
  23
        collateral through September 6, 2019.
  24
                   E.     On September 19, 2019, the Court entered the agreed Order Granting Continued Use of
  25
        Cash Collateral Through December 6, 2019 Pursuant to That Certain Second Stipulation for (1)
  26
        Authorization to Use Cash Collateral; and (2) Appointment of Chief Restructuring Officer [Docket No.
  27
        328] (the “Continued Order”). The Continued Order extended the Debtors’ authorization for use of
  28
                                                                                     DEBTORS’ THIRD STIPULATION
                                                                    REGARDING CONTINUED USE OF CASH COLLATERAL
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    1   cash collateral through December 6, 2019, subject to the terms of the Second Stipulation as modified by
    2 the Continued Order, and pursuant to the budget attached to the Continued Order. The Continued Order

    3 also set a continued hearing on the Cash Collateral Motion for December 5, 2019 at 10:00 a.m. (the

    4 “Continued Hearing”). The period covered by the current budget attached to the Continued Order is

    5   through December 6, 2019.
    6              F.     The Debtors have prepared a new 13-week budget that covers the period through March
    7   6, 2020 (the “Budget”), a copy of which is attached hereto as Exhibit A. The Budget has been approved
    8   by the Debtors’ secured creditor Hillair Capital Management LLC (“Hillair”) and the Official
    9   Committee of Unsecured Creditors (the “Committee”).
  10               G.     The Debtors, Hillair and the Committee agree to the terms of this Third Stipulation.
  11
                                                        STIPULATION
  12

  13
             1. The Debtors, Hillair and the Committee agree to the continued use of cash collateral, pursuant to
  14
                   the terms of the Second Stipulation, subject to the new Budget, through March 6, 2020.
  15
                   Specifically, the budget approved pursuant to the Continued Order is superseded by the Budget
  16
                   attached hereto, and the “Termination Date” as defined in paragraph 14.1(a) in the Second
  17
                   Stipulation is modified to March 6, 2020.
  18
             2. Paragraph 12.1 of the Second Stipulation is hereby modified to add the following events of
  19
                   default:
  20
                          (k)     The composition of the Board of Directors of any of the Debtors is altered or any
  21
                   previous action to alter the composition of any such Board is determined to be valid such that
  22
                   Messrs. Weiss, Grobstein and Harrow no longer serve as the sole Directors of the Debtors.
  23
                          (l)     The Debtors’ agreements with Amazon are terminated or Amazon is given relief
  24
                   from the automatic stay to effectuate its termination rights.
  25
                          (m)     Any chapter 11 plan of reorganization or liquidation is filed by the Debtors or any
  26
                   other third-party and Hillair does not consent to such plan.
  27

  28
                                                                                       DEBTORS’ THIRD STIPULATION
                                                                      REGARDING CONTINUED USE OF CASH COLLATERAL
                                                            -2-                       Case No. 2:19-bk-14989-WB
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        Case 2:19-bk-14989-WB            Doc 568
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    1        3. Except as provided for herein and in the Stipulation Further Extending Deadline For Official
    2              Committee Of Unsecured Creditors To Challenge Claim And Lien Of Hillair Capital
    3              Management, LLC [Docket. No. 439], the terms of the Second Stipulation remain in full force
    4              and effect.
    5        4. The Debtors, Hillair and the Committee request entry of the order approving this Third
    6              Stipulation in the form attached hereto as Exhibit B.
    7

    8   DATED: December 3, 2019                           FOR THE DEBTORS:

    9

  10
                                                          /s/ Ashley M. McDow
  11                                                      Ashley M. McDow
  12                                                      Ashley M. McDow (245114)
                                                          John A. Simon (admitted Pro Hac Vice)
  13                                                      Shane J. Moses (250533)
                                                          FOLEY & LARDNER LLP
  14
                                                          Attorneys for Debtors SCOOBEEZ, SCOOBEEZ
  15                                                      GLOBAL, INC., and SCOOBUR, LLC
  16

  17                                                       FOR THE OFFICIAL COMMITTEE OF
                                                           UNSECURED CREDITORS:
  18

  19
                                                           David L. Neale
  20                                                       John-Patrick M. Fritz
                                                           LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.,
  21
                                                           Attorneys for the Committee
  22

  23

  24

  25

  26

  27

  28
                                                                                     DEBTORS’ THIRD STIPULATION
                                                                    REGARDING CONTINUED USE OF CASH COLLATERAL
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    1        3. Except as provided for herein and in the Stipulation Further Extending Deadline For Official
    2              Committee Of Unsecured Creditors To Challenge Claim And Lien Of Hillair Capital
    3              Management, LLC [Docket. No. 439], the terms of the Second Stipulation remain in full force
    4              and effect.
    5        4. The Debtors, Hillair and the Committee request entry of the order approving this Third
    6              Stipulation in the form attached hereto as Exhibit B.
    7

    8   DATED: December 3, 2019                           FOR THE DEBTORS:

    9
  10

  11                                                      Ashley M. McDow
  12                                                      Ashley M. McDow (245114)
                                                          John A. Simon (admitted Pro Hac Vice)
  13                                                      Shane J. Moses (250533)
                                                          FOLEY & LARDNER LLP
  14
                                                          Attorneys for Debtors SCOOBEEZ, SCOOBEEZ
  15                                                      GLOBAL, INC., and SCOOBUR, LLC
  16
  17                                                       FOR THE OFFICIAL COMMITTEE OF
                                                           UNSECURED CRREDITORS:
                                                                      CREDITORS:
  18

  19
                                                           Daviid L.
                                                           David  L Neale
  20                                                       John-Patrick M. Fritz
                                                           LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.,
  21
                                                           Attorneys for the Committee
  22

  23

  24

  25

  26

  27

  28
                                                                                     DEBTORS’ THIRD STIPULATION
                                                                    REGARDING CONTINUED USE OF CASH COLLATERAL
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                           Exhibit A




                                    000021
Scoobeez, et al.                             Case 2:19-bk-14989-WB                               Doc 486 Filed 12/06/19 Entered 12/06/19 17:01:03                                                       Desc
Cash Forecast through 3/6/2020                                                                    Main Document    Page 8 of 14
                   Forecast Week No.               1             2             3             4              5             6             7             8             9            10            11            12           13
                                            Forecast      Forecast      Forecast      Forecast       Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast                    Percent of
                        Week Ended       12/13/2019    12/20/2019    12/27/2019      1/3/2020      1/10/2020     1/17/2020     1/24/2020     1/31/2020      2/7/2020     2/14/2020     2/21/2020     2/28/2020      3/6/2020    Total Forecast   Collections
   Invoiced                                 800,000       800,000       800,000      775,000         775,000       775,000       775,000       775,000      775,000        775,000       775,000       775,000      775,000       10,150,000
   Routes
Total Invoices                              800,000      800,000       800,000       775,000        775,000       775,000       775,000       775,000       775,000       775,000       775,000       775,000       775,000       10,150,000
Beginning Cash                            2,077,865     2,454,742     1,833,924     2,400,077      1,840,053     2,267,519     1,813,747     2,191,722     1,659,773     2,145,248     1,684,476     2,032,451     1,512,702
Collections                                 800,000      800,000       800,000       800,000        800,000       800,000       800,000       775,000       775,000       775,000       775,000       775,000       775,000       10,250,000        100.0%
Cash Disbursements:
  Fuel                                       56,000       56,000        56,000        55,000         55,000        55,000        55,000        55,000        55,000        55,000        55,000        55,000        55,000          718,000          7.0%
  Payroll & Payroll Expenses                 10,000      930,000        10,000       930,000         10,000       900,000        10,000       900,000        10,000       900,000        10,000       900,000        10,000        5,530,000         54.0%
  Executive Compensation                        -         32,500           -          32,500            -             -          32,500           -          32,500           -          32,500                      32,500          195,000          1.9%
  Vehicle - Hertz (3)                        95,197       95,197        95,197       109,375        109,375       109,375       109,375       109,375       109,375       109,375       109,375       109,375       109,375        1,379,340         13.5%
  Vehicle - Accidents/Tolls/Citations           -            750           -             750            -          37,500           -             750           -          37,500           -             750           -             78,000          0.8%
  Worker's Compensation                       7,000       86,022         7,000        86,022          7,000        83,247         7,000        83,247         7,000        83,247         7,000        83,247         7,000          554,031          5.4%
  Rent & Utilities                              -            -             -          20,500            -             -             -          20,500           -             -             -          20,500           -             61,500          0.6%
  Insurance                                  41,276          -             -          75,227            -             -             -          75,227           -             -             -          75,227           -            266,957          2.6%
  Phones & Service                           13,000          -          13,000           -           13,000           -          13,000           -          13,000                      13,000           -          13,000           91,000          0.9%
  Travel                                     12,000          -             -             -           12,000           -             -             -          12,000           -             -             -          12,000           48,000          0.5%
  IT Expenses                                   -         12,200           -             -            5,000           -             -          12,200           -             -           5,000           -             -             34,400          0.3%
  Dues & Subscriptions                       18,500          500           500           500            500        18,500           500           500           500           500           500           500           500           42,500          0.4%
  DBB Tax Preparation Fee                       -            -             -             -              -             -             -             -             -             -             -             -             -                -            0.0%
  Car Wash                                      -            -           2,000           -              -             -           2,000           -             -             -           2,000           -             -              6,000          0.1%
  Other Expenses                             10,000       10,000        10,000        10,000         10,000        10,000        10,000        10,000        10,000        10,000        10,000        10,000        10,000          130,000          1.3%
Total Operating Cash Disbursements          262,973     1,223,168      193,697      1,319,874       221,875      1,213,622      239,375      1,266,799      249,375      1,195,622      244,375      1,254,599      249,375        9,134,728         89.1%
Operating Cash Flow                         537,027     (423,168)      606,303      (519,874)       578,125      (413,622)      560,625      (491,799)      525,625      (420,622)      530,625      (479,599)      525,625        1,115,272         10.9%
Financing Cash Flows




                                                                                                                                                                                                                                                               000022
   Debt Principal                               -            -             -             -              -             -             -             -             -             -             -             -             -                -            0.0%
   Debt Interest                             40,000       40,000        40,000        40,000         40,000        40,000        40,000        40,000        40,000        40,000        40,000        40,000        40,000          520,000          5.1%
   Bank Fees                                    150          150           150           150            150           150           150           150           150           150           150           150           150            1,950          0.0%
Financing Cash Flows                         40,150       40,150        40,150        40,150         40,150        40,150        40,150        40,150        40,150        40,150        40,150        40,150        40,150          521,950          5.1%
Restructuring Cash Flows
  Debtor Counsel                                -         50,000            -             -             -              -         50,000            -             -             -         50,000            -            -            150,000          1.5%
  Debtor CRO                                    -         40,000            -             -             -              -         25,000            -             -             -         25,000            -            -             90,000          0.9%
  Debtor Advisor                                -            -              -             -             -              -            -              -             -             -            -              -            -                -            0.0%
  Board of Directors (2 Individuals)            -          5,000            -             -             -              -          5,000            -             -             -          5,000            -            -             15,000          0.1%
  Secured Lender Counsel                        -         50,000            -             -             -              -         50,000            -             -             -         50,000            -            -            150,000          1.5%
  Committee Counsel                             -         12,500            -             -             -              -         12,500            -             -             -         12,500            -            -             37,500          0.4%
  Special Counsel (Hillair)                 100,000          -              -             -             -              -            -              -             -             -            -              -            -            100,000          1.0%
  Special Counsel (Debtor)                   20,000          -              -             -             -              -            -              -             -             -            -              -            -             20,000          0.2%
  US Trustee Fees                               -            -              -             -         110,510            -            -              -             -             -            -              -        102,488          212,998          2.1%
Restructuring Cash Flows                    120,000      157,500            -             -         110,510            -        142,500            -             -             -        142,500            -        102,488          775,498          7.6%
Net Total Cash Flow In / (Out)              376,877     (620,818)      566,153      (560,024)       427,465      (453,772)      377,975      (531,949)      485,475      (460,772)      347,975      (519,749)      382,987         (182,176)         -1.8%
Ending Cash Balance                       2,454,742     1,833,924     2,400,077     1,840,053      2,267,519     1,813,747     2,191,722     1,659,773     2,145,248     1,684,476     2,032,451     1,512,702     1,895,689
Collateral Package
  Cash on Hand                             2,454,742    1,833,924     2,400,077     1,840,053      2,267,519     1,813,747     2,191,722     1,659,773     2,145,248     1,684,476     2,032,451     1,512,702     1,895,689
  AR                                       3,180,000    3,180,000     3,180,000     3,160,000      3,140,000     3,120,000     3,100,000     3,100,000     3,100,000     3,100,000     3,100,000     3,100,000     3,100,000
  Loan Receivable and Uncategorized Assets 1,654,172    1,654,172     1,654,172     1,654,172      1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172
  Fixed Assets                               868,687      868,687       868,687       868,687        868,687       868,687       868,687       868,687       868,687       868,687       868,687       868,687       868,687
  Other Assets                                62,668       62,668        62,668        62,668         62,668        62,668        62,668        62,668        62,668        62,668        62,668        62,668        62,668
Total Collateral                          8,220,269     7,599,451     8,165,604     7,585,580      7,993,046     7,519,274     7,877,249     7,345,300     7,830,775     7,370,003     7,717,978     7,198,229     7,581,216
Estimated Outstanding Secured Loan       11,108,500    11,108,500    11,108,500    11,108,500     11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500
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                           Exhibit B




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    1   Ashley M. McDow (245114)
        John A. Simon (admitted Pro Hac Vice)
    2   Shane J. Moses (250533)
        FOLEY & LARDNER LLP
    3   555 S. Flower St., 33rd Floor
        Los Angeles, CA 90071
    4   Telephone: 213.972.4500
        Email: amcdow@foley.com
    5          jsimon@foley.com
               smoses@foley.com
    6

    7   Attorneys for Debtors and Debtors in
        Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
    8   INC., and SCOOBUR, LLC
    9
                                   UNITED STATES BANKRUPTCY COURT
  10
                                    CENTRAL DISTRICT OF CALIFORNIA
  11
                                             LOS ANGELES DIVISION
  12
                                                             Case No. 2:19-bk-14989-WB
  13        In re:                                           Jointly Administered:
                                                             2:19-bk-14991-WB; 2:19-bk-14997-WB
  14        SCOOBEEZ, et al. 1
                                                             Chapter 11
  15                   Debtors and Debtors in Possession.

  16        Affects:                                         ORDER GRANTING CONTINUED USE OF
  17                                                         CASH COLLATERAL THROUGH MARCH
            ■ All Debtors                                    6, 2020, PURSUANT TO THAT CERTAIN
  18                                                         THIRD STIPULATION REGARDING
            □ Scoobeez, ONLY                                 CONTINUED USE OF CASH
  19                                                         COLLATERAL
            □ Scoobeez Global, Inc., ONLY
  20        □ Scoobur LLC, ONLY
  21

  22

  23

  24

  25

  26

  27
        1
  28      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
        follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
        address is 3463 Foothill Boulevard, Glendale, California 91214.

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    1              Scoobeez, Inc., Scoobeez Global, Inc., and Scoobur, LLC, the debtors and debtors-in-possession
    2   in the above captioned jointly administered Chapter 11 bankruptcy cases (collectively, the “Debtors”)
    3   having filed the Emergency Motion for Entry of Interim Order Authorizing Use of Cash Collateral on an
    4   Interim Basis [Docket No. 13] (the “Cash Collateral Motion”);
    5              The Debtors presently have authorization to use cash collateral on an interim basis through
    6   December 6, 2019, pursuant to the Order Granting Continued Use Of Cash Collateral Through
    7   December 6, 2019 Pursuant To That Certain Second Stipulation For (1) Authorization To Use Cash
    8   Collateral; And (2) Appointment Of Chief Restructuring Officer [Docket No. 172], entered on
    9   September 19, 2019 (the “Prior Order”), which approved continued use of cash collateral under that
  10    certain Second Stipulation for (1) Authorization to Use Cash Collateral; and (2) Appointment of Chief
  11    Restructuring Officer [Docket No. 132] (the “Second Stipulation”) entered into by and among Hillair
  12    Capital Management LLC and Hillair Capital Advisors LLC, the general partner of Hillair Capital
  13    Investments LP (collectively, “Hillair”), the Debtors, and the Official Committee of Unsecured
  14    Creditors (the “Committee”), which was approved by this Court pursuant to that certain Order
  15    Approving Second Stipulation for (1) Authorization to Use Cash Collateral; and (2) Appointment of a
  16    Chief Restructuring Officer [Docket No. 135].
  17               The Debtors seek continued use of cash collateral on an interim basis as set forth in their Third
  18    Stipulation Regarding Continued Use of Cash Collateral [Docket No. [___]] (the “Third Stipulation”).
  19    The Court having considered the Cash Collateral Motion, the Second Stipulation, the Third Stipulation,
  20    all oppositions and other supplemental papers filed with respect to the continued use of cash collateral,
  21    and good cause appearing therefor, the Court makes the following findings:
  22               A.     The Debtors, the Committee, and Hillair support the Debtors’ continued use of cash
  23    collateral on an interim basis.
  24               B.     There are no defaults under the terms of the Second Stipulation, the Prior Order, or any
  25    previous stipulation or order authorizing the Debtors’ use of cash collateral.
  26               C.     The express written consent of Hillair under Paragraph 3.4(c) of the Second Stipulation
  27    for the use of cash collateral for the payment of any insider of the Debtor or any management person or
  28    entity retained by the Debtors’ or the Debtors’ estate is as provided for in the Budget (as defined in the


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    1   Third Stipulation and as attached to this order (the “Order”)).
    2              NOW, THEREFORE, IT IS HEREBY ORDERED THAT:
    3              1.     The Debtors’ authorization to use cash collateral on a further interim basis pursuant to the
    4   terms of the Second Stipulation is approved subject to the modifications set forth in this Order.
    5              2.     The term during which the Debtors are authorized to use cash collateral, as set forth in
    6   Paragraph 14.1(a) of the Second Stipulation, is hereby extended through March 6, 2020.
    7              3.     The Budget as defined and referenced in Paragraph 3.3(a) of the Second Stipulation and
    8   attached as Exhibit B to the Second Stipulation is hereby superseded by the budget attached hereto as
    9   Exhibit A for the period from December 7 through March 6, 2019.
  10               4.      Paragraph 12.1 of the Second Stipulation is hereby modified to add the following events
  11    of default:
  12               (k)    The composition of the Board of Directors of any of the Debtors is altered or any
  13               previous action to alter the composition of any such Board is determined to be valid such that
  14               Messrs. Weiss, Grobstein and Harrow no longer serve as the sole Directors of the Debtors.
  15               (l)    The Debtors’ agreements with Amazon are terminated or Amazon is given relief from the
  16               automatic stay to effectuate its termination rights.
  17               (m)    Any chapter 11 plan of reorganization or liquidation is filed by the Debtors or any other
  18               third-party and Hillair does not consent to such plan.
  19               5.     The hearing on the Debtors’ Emergency Motion for Entry of Interim Order Authorizing
  20    Use of Cash Collateral on an Interim Basis [Docket No. 13] (the “Motion”) shall be continued to March
  21    5, 2020, at 10:00 a.m. in the above-captioned court.
  22               6.     Supplemental briefs in support of the Motion and continued use of cash collateral shall be
  23    filed and served by no later than February 20, 2020.
  24               7.     Supplemental responses in opposition to the motion and continued use of cash collateral
  25    shall be filed and served by no later than February 27, 2020.
  26                                                          # # #
  27

  28


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                                             PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Foley & Lardner LLP, 555 South Flower Street, Suite 3300, Los Angeles, CA 90072-2411

A true and correct copy of the foregoing document entitled (specify): THIRD STIPULATION REGARDING
CONTINUED USE OF CASH COLLATERAL will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
document. On (date) December 6, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF
transmission at the email addresses stated below:



                                                                                   Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) December 6, 2019, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Honorable Julia W. Brand
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1382
Los Angeles, CA 90012




                                                                                  Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)               ,I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
than 24 hours after the document is filed.


                                                                                  Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  12/6/2019                      Karla P. Hernandez                                       /s/ Karla P. Hernandez
  Date                           Printed Name                                             Signature




      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                        F 9013-3.1.PROOF.SERVICE
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1.         TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
          John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
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          Alvin Mar alvin.mar@usdoj.gov
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           sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
          Stacey A Miller smiller@tharpe-howell.com
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          Akop J Nalbandyan jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com
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          Anthony J Napolitano anapolitano@buchalter.com,
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           calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf.inforuptcy.com
          Steven M Spector sspector@buchalter.com, IFS_efiling@buchalter.com;salarcon@buchalter.com
          United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
          Eric K Yaeckel yaeckel@sullivanlawgroupapc.com




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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                                 EXHIBIT D




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    1   Ashley M. McDow (245114)
        John A. Simon (admitted Pro Hac Vice)
    2   Shane J. Moses (250533)
        FOLEY & LARDNER LLP                                                    FILED & ENTERED
    3   555 S. Flower St., 33rd Floor
        Los Angeles, CA 90071
    4   Telephone: 213.972.4500                                                      DEC 10 2019
        Email: amcdow@foley.com
    5          jsimon@foley.com                                                 CLERK U.S. BANKRUPTCY COURT
               smoses@foley.com                                                 Central District of California
    6                                                                           BY tatum      DEPUTY CLERK


    7   Attorneys for Debtors and Debtors in
        Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
    8   INC., and SCOOBUR, LLC
    9
                                   UNITED STATES BANKRUPTCY COURT
  10
                                    CENTRAL DISTRICT OF CALIFORNIA
  11
                                             LOS ANGELES DIVISION
  12
                                                              Case No. 2:19-bk-14989-WB
  13        In re:                                            Jointly Administered:
                                                              2:19-bk-14991-WB; 2:19-bk-14997-WB
  14        SCOOBEEZ, et al.1
                                                              Chapter 11
  15                   Debtors and Debtors in Possession.

  16        Affects:                                          ORDER GRANTING CONTINUED USE OF
  17                                                          CASH COLLATERAL THROUGH MARCH
            ■ All Debtors                                     6, 2020, PURSUANT TO THAT CERTAIN
  18                                                          THIRD STIPULATION REGARDING
            □ Scoobeez, ONLY                                  CONTINUED USE OF CASH
  19                                                          COLLATERAL
            □ Scoobeez Global, Inc., ONLY
  20        □ Scoobur LLC, ONLY
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  28      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
        follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
        address is 3463 Foothill Boulevard, Glendale, California 91214.

4831-9136-2734.2                                       000030
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    1              Scoobeez, Inc., Scoobeez Global, Inc., and Scoobur, LLC, the debtors and debtors-in-possession
    2   in the above captioned jointly administered Chapter 11 bankruptcy cases (collectively, the “Debtors”)
    3   having filed the Emergency Motion for Entry of Interim Order Authorizing Use of Cash Collateral on an
    4   Interim Basis [Docket No. 13] (the “Cash Collateral Motion”);
    5              The Debtors presently have authorization to use cash collateral on an interim basis through
    6   December 6, 2019, pursuant to the Order Granting Continued Use Of Cash Collateral Through
    7   December 6, 2019 Pursuant To That Certain Second Stipulation For (1) Authorization To Use Cash
    8   Collateral; And (2) Appointment Of Chief Restructuring Officer [Docket No. 172], entered on
    9   September 19, 2019 (the “Prior Order”), which approved continued use of cash collateral under that
  10    certain Second Stipulation for (1) Authorization to Use Cash Collateral; and (2) Appointment of Chief
  11    Restructuring Officer [Docket No. 132] (the “Second Stipulation”) entered into by and among Hillair
  12    Capital Management LLC and Hillair Capital Advisors LLC, the general partner of Hillair Capital
  13    Investments LP (collectively, “Hillair”), the Debtors, and the Official Committee of Unsecured
  14    Creditors (the “Committee”), which was approved by this Court pursuant to that certain Order
  15    Approving Second Stipulation for (1) Authorization to Use Cash Collateral; and (2) Appointment of a
  16    Chief Restructuring Officer [Docket No. 135].
  17               The Debtors seek continued use of cash collateral on an interim basis as set forth in their Third
  18    Stipulation Regarding Continued Use of Cash Collateral [Docket No. [486]] (the “Third Stipulation”).
  19    The Court having considered the Cash Collateral Motion, the Second Stipulation, the Third Stipulation,
  20    all oppositions and other supplemental papers filed with respect to the continued use of cash collateral,
  21    and good cause appearing therefor, the Court makes the following findings:
  22               A.     The Debtors, the Committee, and Hillair support the Debtors’ continued use of cash
  23    collateral on an interim basis.
  24               B.     There are no defaults under the terms of the Second Stipulation, the Prior Order, or any
  25    previous stipulation or order authorizing the Debtors’ use of cash collateral.
  26               C.     The express written consent of Hillair under Paragraph 3.4(c) of the Second Stipulation
  27    for the use of cash collateral for the payment of any insider of the Debtor or any management person or
  28    entity retained by the Debtors’ or the Debtors’ estate is as provided for in the Budget (as defined in the

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    1   Third Stipulation and as attached to this order (the “Order”)).
    2              NOW, THEREFORE, IT IS HEREBY ORDERED THAT:
    3              1.     The Debtors’ authorization to use cash collateral on a further interim basis pursuant to the
    4   terms of the Second Stipulation is approved subject to the modifications set forth in this Order.
    5              2.     The term during which the Debtors are authorized to use cash collateral, as set forth in
    6   Paragraph 14.1(a) of the Second Stipulation, is hereby extended through March 6, 2020.
    7              3.     The Budget as defined and referenced in Paragraph 3.3(a) of the Second Stipulation and
    8   attached as Exhibit B to the Second Stipulation is hereby superseded by the budget attached hereto as
    9   Exhibit A for the period from December 7 through March 6, 2019.
  10               4.      Paragraph 12.1 of the Second Stipulation is hereby modified to add the following events
  11    of default:
  12               (k)    The composition of the Board of Directors of any of the Debtors is altered or any
  13               previous action to alter the composition of any such Board is determined to be valid such that
  14               Messrs. Weiss, Grobstein and Harrow no longer serve as the sole Directors of the Debtors.
  15               (l)    The Debtors’ agreements with Amazon are terminated or Amazon is given relief from the
  16               automatic stay to effectuate its termination rights.
  17               (m)    Any chapter 11 plan of reorganization or liquidation is filed by the Debtors or any other
  18               third-party and Hillair does not consent to such plan.
  19               5.     The hearing on the Debtors’ Emergency Motion for Entry of Interim Order Authorizing
  20    Use of Cash Collateral on an Interim Basis [Docket No. 13] (the “Motion”) shall be continued to March
  21    5, 2020, at 10:00 a.m. in the above-captioned court.
  22               6.     Supplemental briefs in support of the Motion and continued use of cash collateral shall be
  23    filed and served by no later than February 20, 2020.
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                                                                   ORDER FOR CONTINUED USE OF CASH COLLATERAL
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    1              7.   Supplemental responses in opposition to the motion and continued use of cash collateral
    2   shall be filed and served by no later than February 27, 2020.
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  24           Date: December 10, 2019

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                                                              ORDER FOR CONTINUED USE OF CASH COLLATERAL
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Cash Forecast through 3/6/2020

                   Forecast Week No.               1             2             3             4             5             6             7             8             9            10            11            12           13
                                            Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast                    Percent of
                        Week Ended       12/13/2019    12/20/2019    12/27/2019      1/3/2020     1/10/2020     1/17/2020     1/24/2020     1/31/2020      2/7/2020     2/14/2020     2/21/2020     2/28/2020      3/6/2020    Total Forecast   Collections
   Invoiced                                 800,000       800,000       800,000      775,000        775,000       775,000       775,000       775,000      775,000        775,000       775,000       775,000      775,000       10,150,000
   Routes
Total Invoices                              800,000      800,000       800,000       775,000       775,000       775,000       775,000       775,000       775,000       775,000       775,000       775,000       775,000       10,150,000

Beginning Cash                            2,077,865     2,454,742     1,833,924     2,400,077     1,840,053     2,267,519     1,813,747     2,191,722     1,659,773     2,145,248     1,684,476     2,032,451     1,512,702

Collections                                 800,000      800,000       800,000       800,000       800,000       800,000       800,000       775,000       775,000       775,000       775,000       775,000       775,000       10,250,000        100.0%

Cash Disbursements:
  Fuel                                       56,000       56,000        56,000        55,000        55,000        55,000        55,000        55,000        55,000        55,000        55,000        55,000        55,000          718,000          7.0%
  Payroll & Payroll Expenses                 10,000      930,000        10,000       930,000        10,000       900,000        10,000       900,000        10,000       900,000        10,000       900,000        10,000        5,530,000         54.0%
  Executive Compensation                        -         32,500           -          32,500           -             -          32,500           -          32,500           -          32,500                      32,500          195,000          1.9%
  Vehicle - Hertz (3)                        95,197       95,197        95,197       109,375       109,375       109,375       109,375       109,375       109,375       109,375       109,375       109,375       109,375        1,379,340         13.5%
  Vehicle - Accidents/Tolls/Citations           -            750           -             750           -          37,500           -             750           -          37,500           -             750           -             78,000          0.8%
  Worker's Compensation                       7,000       86,022         7,000        86,022         7,000        83,247         7,000        83,247         7,000        83,247         7,000        83,247         7,000          554,031          5.4%
  Rent & Utilities                              -            -             -          20,500           -             -             -          20,500           -             -             -          20,500           -             61,500          0.6%
  Insurance                                  41,276          -             -          75,227           -             -             -          75,227           -             -             -          75,227           -            266,957          2.6%
  Phones & Service                           13,000          -          13,000           -          13,000           -          13,000           -          13,000                      13,000           -          13,000           91,000          0.9%
  Travel                                     12,000          -             -             -          12,000           -             -             -          12,000           -             -             -          12,000           48,000          0.5%
  IT Expenses                                   -         12,200           -             -           5,000           -             -          12,200           -             -           5,000           -             -             34,400          0.3%
  Dues & Subscriptions                       18,500          500           500           500           500        18,500           500           500           500           500           500           500           500           42,500          0.4%
  DBB Tax Preparation Fee                       -            -             -             -             -             -             -             -             -             -             -             -             -                -            0.0%
  Car Wash                                      -            -           2,000           -             -             -           2,000           -             -             -           2,000           -             -              6,000          0.1%
  Other Expenses                             10,000       10,000        10,000        10,000        10,000        10,000        10,000        10,000        10,000        10,000        10,000        10,000        10,000          130,000          1.3%
Total Operating Cash Disbursements          262,973     1,223,168      193,697      1,319,874      221,875      1,213,622      239,375      1,266,799      249,375      1,195,622      244,375      1,254,599      249,375        9,134,728         89.1%

Operating Cash Flow                         537,027     (423,168)      606,303      (519,874)      578,125      (413,622)      560,625      (491,799)      525,625      (420,622)      530,625      (479,599)      525,625        1,115,272         10.9%

Financing Cash Flows
   Debt Principal                               -            -             -             -             -             -             -             -             -             -             -             -             -                -            0.0%
   Debt Interest                             40,000       40,000        40,000        40,000        40,000        40,000        40,000        40,000        40,000        40,000        40,000        40,000        40,000          520,000          5.1%
   Bank Fees                                    150          150           150           150           150           150           150           150           150           150           150           150           150            1,950          0.0%
Financing Cash Flows                         40,150       40,150        40,150        40,150        40,150        40,150        40,150        40,150        40,150        40,150        40,150        40,150        40,150          521,950          5.1%

Restructuring Cash Flows
  Debtor Counsel                                -         50,000            -             -            -              -         50,000            -             -             -         50,000            -            -            150,000          1.5%
  Debtor CRO                                    -         40,000            -             -            -              -         25,000            -             -             -         25,000            -            -             90,000          0.9%
  Debtor Advisor                                -            -              -             -            -              -            -              -             -             -            -              -            -                -            0.0%
  Board of Directors (2 Individuals)            -          5,000            -             -            -              -          5,000            -             -             -          5,000            -            -             15,000          0.1%
  Secured Lender Counsel                        -         50,000            -             -            -              -         50,000            -             -             -         50,000            -            -            150,000          1.5%
  Committee Counsel                             -         12,500            -             -            -              -         12,500            -             -             -         12,500            -            -             37,500          0.4%
  Special Counsel (Hillair)                 100,000          -              -             -            -              -            -              -             -             -            -              -            -            100,000          1.0%
  Special Counsel (Debtor)                   20,000          -              -             -            -              -            -              -             -             -            -              -            -             20,000          0.2%
  US Trustee Fees                               -            -              -             -        110,510            -            -              -             -             -            -              -        102,488          212,998          2.1%
Restructuring Cash Flows                    120,000      157,500            -             -        110,510            -        142,500            -             -             -        142,500            -        102,488          775,498          7.6%

Net Total Cash Flow In / (Out)              376,877     (620,818)      566,153      (560,024)      427,465      (453,772)      377,975      (531,949)      485,475      (460,772)      347,975      (519,749)      382,987         (182,176)         -1.8%

Ending Cash Balance                       2,454,742     1,833,924     2,400,077     1,840,053     2,267,519     1,813,747     2,191,722     1,659,773     2,145,248     1,684,476     2,032,451     1,512,702     1,895,689


Collateral Package
  Cash on Hand                             2,454,742    1,833,924     2,400,077     1,840,053     2,267,519     1,813,747     2,191,722     1,659,773     2,145,248     1,684,476     2,032,451     1,512,702     1,895,689
  AR                                       3,180,000    3,180,000     3,180,000     3,160,000     3,140,000     3,120,000     3,100,000     3,100,000     3,100,000     3,100,000     3,100,000     3,100,000     3,100,000
  Loan Receivable and Uncategorized Assets 1,654,172    1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172
  Fixed Assets                               868,687      868,687       868,687       868,687       868,687       868,687       868,687       868,687       868,687       868,687       868,687       868,687       868,687
  Other Assets                                62,668       62,668        62,668        62,668        62,668        62,668        62,668        62,668        62,668        62,668        62,668        62,668        62,668
Total Collateral                          8,220,269     7,599,451     8,165,604     7,585,580     7,993,046     7,519,274     7,877,249     7,345,300     7,830,775     7,370,003     7,717,978     7,198,229     7,581,216
Estimated Outstanding Secured Loan       11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500




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                                                                    Central District of California
  6                                                                 BY egarcia DEPUTY CLERK


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  8                           UNITED STATES BANKRUPTCY COURT

  9                            CENTRAL DISTRICT OF CALIFORNIA

 10                                   LOS ANGELES DIVISION

 11   In re                                            Lead Case No. 2:19-bk-14989-WB
 12   SCOOBEEZ, INC., a California                     Chapter 11
      corporation, et al.
 13                                                    Jointly administered with Case Nos. 2:19-bk-
                        Debtors and Debtors in         14991-WB and 2:19-bk-14997-WB)
 14                     Possession.
                                                       ORDER APPROVING SECOND
 15                                                    STIPULATION FOR
                                                       (1) AUTHORIZATION TO USE
 16   Affects:                                         CASH COLLATERAL; AND
                                                       (2) APPOINTMENT OF CHIEF
 17           All Debtors                              RESTRUCTURING OFFICER
 18           SCOOBEEZ, INC., only                     Hearing:
              SCOOBEEZ GLOBAL, INC. only               Date:           June 6, 2019
 19
                                                       Time:           10:00 a.m.
 20           SCOOBUR, LLC only                        Place:          U.S. Bankruptcy Court
                                                                       Courtroom 1375
 21                                                                    255 East Temple Street
                                                                       Los Angeles, CA 90012
 22                                                    Judge:          Hon. Julia W. Brand
 23

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  1           Having reviewed the Second Stipulation for (1) Authorization to Use Cash Collateral; and
  2   (2) Appointment of Chief Restructuring Officer [Docket No. 132] (the “Stipulation”) entered into
  3   by and between Hillair Capital Management LLC and Hillair Capital Advisors LLC, the general
  4   partner of Hillair Capital Investments LP (collectively, “Hillair”), Scoobeez, Inc., a California
  5   corporation, debtor in the above-captioned chapter 11 bankruptcy case (“Scoobeez”), and its
  6   affiliated debtors, Scoobeez Global, Inc., an Idaho corporation (formerly known as ABT
  7   Holdings, Inc.) (“Scoobeez Global”) and Scoobur, LLC, a California limited liability company
  8   (“Scoobur”) (collectively, the “Debtors”), and the Official Committee of Unsecured Creditors
  9   (the “Committee”), and good cause appearing therefor:
 10           IT IS HEREBY ORDERED THAT:
 11           1.      The Stipulation is approved.
 12           2.      The hearing on the Debtors’ Emergency Motion for Entry of Interim Order
 13   Authorizing Use of Cash Collateral on an Interim Basis [Docket No. 13] (the “Motion”) shall be
 14   continued to June 27, 2019 at 10:00 a.m. 2:00 p.m. in the above-captioned court.
 15           3.      Supplemental briefs in support of the Motion and continued use of cash collateral
 16   shall be filed and served by no later than June 20, 2019.
 17           4.      Supplemental responses in opposition to the motion and continued use of cash
 18   collateral shall be filed and served by no later than June 25, 2019.
 19                                                  # # #
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 24 Date: June 7, 2019

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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):



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